Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 1 of 85 Page ID #:739



  1   McGLINCHEY STAFFORD
      Brian A. Paino (SBN 251243)
  2   Helen Mosothoane (SBN 254511)
      18201 Von Karman Avenue, Suite 350
  3   Irvine, California 92612
      Telephone: (949) 381-5900
  4   Facsimile: (949) 271-4040
      Email:        bpaino@mcglinchey.com
  5                 hmosothoane@mcglinchey.com
  6   Attorneys for Defendant PNC Bank, N.A., sued erroneously as THE PNC
      FINANCIAL SERVICES GROUP, INC. a Pennsylvania Corporation, successor by
  7   merger to NATIONAL CITY BANK
  8                                  UNITED STATES DISTRICT COURT
  9               CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
 10   STEPHEN AND MELINDA DREHER,                       Case No.: 2:18-cv-07827-MWF-FFM
 11                    Plaintiffs,
                                                        DECLARATION OF PNC BANK,
 12     v.                                              N.A IN SUPPORT OF MOTION FOR
                                                        SUMMARY JUDGMENT
 13   THE PNC FINANCIAL SERVICES GROUP, INC.
      a Pennsylvania Corporation, successor by merger   Hearing:
 14   to/with NATIONAL CITY BANK;                       Date: December 16, 2019
      DREAMBUILDER INVESTMENTS, LLC, A                  Time: 10:00 a.m.
 15   New York Limited Liability Company; and DOES      Judge: Hon. Michael W. Fitzgerald
      1-50,
 16                                                     Filed concurrently with:
                       Defendants.                      Notice of Motion and Motion for Summary Judgment
 17                                                     Statement of Uncontroverted Facts
                                                        Request for Judicial Notice
 18                                                     Declaration of Helen Mosothoane
                                                        [Proposed] Judgment
 19

 20

 21

 22

 23           I, Thomas W. Morris, declare as follows:
 24           1.      I am over 18 years of age and am employed as an Officer by PNC Bank,
 25   N.A. (“PNC”). In this capacity, I am authorized to sign this declaration on PNC’s
 26   behalf.
 27           2.      I have personal knowledge of the matters set forth in this declaration and,
 28   if called upon to testify, could and would competently testify thereto.
                                                        1        Case No. 2:14-cv-09917-BRO-MRW
                   DECL. OF PNC BANK, N.A. IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
      2539611.1
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 2 of 85 Page ID #:740



  1           3.      As part of my job responsibilities for PNC, I have personal knowledge of
  2   and am familiar with the types of records maintained by PNC and the procedures for
  3   creating and maintaining those records, including the procedures for integrating
  4   records from prior loan servicers or lenders. I have access to and have reviewed the
  5   books, records and files of PNC that pertain to the loan (the “Loan”) given to Stephen
  6   Dreher (“Mr. Dreher”).
  7           4.      The information in this declaration is taken from PNC’s business records
  8   regarding the Loan. The records are: (a) made at or near the time of the occurrence of
  9   the matters recorded by persons with personal knowledge of the information in the
 10   business record, or from information transmitted by persons with personal knowledge;
 11   (b) kept in the course of PNC’s regularly conducted business activities; and (c) it is
 12   the regular practice of PNC to make such records.
 13                                           THE LOAN
 14           5.      On or about April 17, 2007, Mr. Dreher entered into a non-purchase
 15   money mortgage Loan with National City Bank, in the original principal sum of
 16   $350,000.00, which was reflected in a promissory note (the “Note”) secured by a deed
 17   of trust (the “Deed of Trust”) executed by Mr. Dreher and Melinda Dreher (the
 18   “Plaintiffs”). True and correct copies of the Note and Deed of Trust are attached
 19   hereto as Exhibits 1 and 2, respectively.
 20           6.      The Deed of Trust encumbers and established a lien (the “Lien”) against
 21   the real property located at 546 N. Highland Avenue, Los Angeles, California
 22   (“Property”). See Exhibit 2.
 23           7.      PNC is the successor by merger to National City Bank, which merger
 24   took place on or about November 6, 2009. A true and correct copy of the Office of
 25   the Comptroller of the Currency’s final certification dated November 6, 2009
 26   (approving the merger) is attached hereto as Exhibit 3.           The relevant merger
 27   documents are also available to the general public at the Office of the Comptroller of
 28   Currency’s website: www.occ.gov.
                                                      2       Case No. 2:14-cv-09917-BRO-MRW
                   DECL. OF PNC BANK, N.A. IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
      2539611.1
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 3 of 85 Page ID #:741



  1                                  THE TRANSFER OF THE LOAN
  2           8.      National City Bank was both the servicer and owner of the Loan until it
  3   merged with PNC, at which point PNC became the owner and servicer of the Loan.
  4           9.      On or about July 30, 2010, PNC and American Servicing and Recovery
  5   Group, LLC (“ASRG”) entered into a “Non-Performing” Loan Purchase and Interim
  6   Servicing Agreement (the “Purchase Agreement”) whereby PNC sold, for valuable
  7   consideration, a pool of loans (the “Pool”), including the Loan, to ASRG. The Loan
  8   is identified as loan number ******9653 in a Closing Loan Schedule annexed to the
  9   Purchase Agreement.1 A true and correct copy of the Purchase Agreement is attached
 10   hereto as Exhibit 4.
 11           10.     Under the Purchase Agreement, PNC agreed to serve as an “Interim
 12   Servicer” of the Loan until September 1, 2010 (the “Interim Servicing Period”). See
 13   Exhibit 4, ¶¶ 4.2 [“Appointment”]; 1.1(v) [“Interim Servicing Period”], 1.1(kk)
 14   [“Servicing Transfer Date”].
 15           11.     At the request of ASRG, on or about August 12, 2010, PNC executed an
 16   Assignment of Deed of Trust (the “Assignment”) to Dreambuilder Investments, LLC
 17   (“DBI”). A true and correct copy of the Assignment is attached hereto as Exhibit 5.
 18           12.     Pursuant to DBI’s instructions, within 30 days of the July 30, 2010
 19   closing date of the Purchase Agreement, on or about August 25, 2010, PNC sent the
 20   original collateral file for the Loan, which included the original Note and Deed of
 21   Trust, to DBI’s custodian, U.S. Bank.
 22           13.     PNC maintained a spreadsheet (the “Manifest”) identifying the recipients
 23   of the collateral files of loans within the Pool. The Manifest identified U.S. Bank as
 24   the recipient of the collateral file for the subject Loan. A true and correct copy of the
 25   Manifest is attached hereto as Exhibit 6.2
 26           14.     After the sale of the Loan pursuant to the Purchase Agreement, PNC no
 27
      1
        Due to privacy concerns, PNC has redacted all but the last four-digits of the Loan number.
      2
 28     Non-relevant portions of the Manifest and the last four-digits of the Loan nunber have been
      redacted due to privacy concerns.
                                                             3         Case No. 2:14-cv-09917-BRO-MRW
                   DECL. OF PNC BANK, N.A. IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
      2539611.1
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 4 of 85 Page ID #:742



  1   longer held any ownership or other interest in the Loan, with the exception of the
  2   servicing rights during the Interim Servicing Period. Following the conclusion of the
  3   Interim Servicing Period, PNC had no remaining right, title, or interest in the Loan.
  4                                    THE POST-SALE EVENTS
  5           15.    On September 1, 2010, PNC mailed a “goodbye letter” (the “Goodbye
  6   Letter”) to Mr. Dreher wherein it gave notice of the transfer of servicing rights to the
  7   Loan from PNC to DBI. The letter was mailed to Mr. Dreher’s address at 23210 S.
  8   Cave Bay Rd., P.O. Box 400, Worley, Idaho, 83876 (the “Worley Idaho Address”).
  9           16.    Because the Loan was sold as part of a bulk-loan sale to the same
 10   purchaser (ASRG), PNC did not retain original copies of the Goodbye Letters for all
 11   of the loans that were included in the Pool. Instead, PNC retained a sample copy of the
 12   letter it sent to borrowers within the Pool. A true and correct copy of the sample letter
 13   that PNC used for loans included in the Pool, including the Loan, is attached hereto as
 14   Exhibit 7.
 15           17.    PNC maintained a spreadsheet (the “Spreadsheet”) that identifies the
 16   borrowers within the Pool (together with their addresses) to whom it mailed Goodbye
 17   Letters. Mr. Dreher is included on the Spreadsheet and his address is identified as the
 18   Worley Idaho Address. Mr. Dreher’s inclusion on the Spreadsheet evidences that he
 19   was sent a Goodbye Letter at the Worley Idaho Address. A true and correct copy of
 20   the Spreadsheet is attached hereto as Exhibit 8.3
 21           18.    PNC did not receive notice of Plaintiffs’ Chapter 11 bankruptcy petition
 22   filed in U.S. Bankruptcy Court for the District of Idaho under Case No. 10-21037-
 23   TLM (the “Bankruptcy”), or any filings in the Bankruptcy. PNC did not file a Proof of
 24   Claim in the Bankruptcy or authorize any person or entity to file a Proof of Claim in
 25   the Bankruptcy on its behalf. At no point in time did PNC authorize Green Tree to act
 26   as its agent with respect to the Loan. Nor did PNC authorize Green Tree to file that
 27
      3
 28     For the protection of private information, non-relevant portions of the Spreadsheet have been
      redacted.
                                                             4         Case No. 2:14-cv-09917-BRO-MRW
                  DECL. OF PNC BANK, N.A. IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
      2539611.1
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 5 of 85 Page ID #:743
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 6 of 85 Page ID #:744




                       EXHIBIT “1”
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 7 of 85 Page ID #:745




                                                       PNC Dreher 000088
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 8 of 85 Page ID #:746




                                                       PNC Dreher 000089
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 9 of 85 Page ID #:747




                                                       PNC Dreher 000090
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 10 of 85 Page ID
                                  #:748




                                                    PNC Dreher 000091
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 11 of 85 Page ID
                                  #:749




                     EXHIBIT “2”
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 12 of 85 Page ID
                                  #:750




                                                    PNC Dreher 000093
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 13 of 85 Page ID
                                  #:751




                                                   PNC Dreher 000094
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 14 of 85 Page ID
                                  #:752




                                                   PNC Dreher 000095
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 15 of 85 Page ID
                                  #:753




                                                PNC Dreher 000096
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 16 of 85 Page ID
                                  #:754




                                                   PNC Dreher 000097
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 17 of 85 Page ID
                                  #:755




                                                   PNC Dreher 000098
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 18 of 85 Page ID
                                  #:756




                                                PNC Dreher 000099
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 19 of 85 Page ID
                                  #:757




                                                   PNC Dreher 000100
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 20 of 85 Page ID
                                  #:758




                                                  PNC Dreher 000101
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 21 of 85 Page ID
                                  #:759




                                               PNC Dreher 000102
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 22 of 85 Page ID
                                  #:760




                     EXHIBIT “3”
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 23 of 85 Page ID
                                  #:761




    »PT^CBAMK

                                                      CERTIFICATE


            The undersigned, George P, long, IH, Secretary of PNC Bank, National Association,
    does hereby certify as follQWS:

            1. Effective December 31, 2008, National City Corporation merged with and into The
                PNC Financial Services Group, Inc. and Natbnal City Bank became a wholly
                owned subsidiary of The PNC Financial Services Group, Inc. Prior to this merger,
                National City Bank was a wholly owned subsidiary of National City Corporation,

            2. Effective as of November 6/ 2009^ Matrona! City B^nk and pursuant to approval
                granted by the United States Office of the Comptroller of the Currency (as
                evidenced by the official certtfication dated November 6, 2009 attached hereto as
                Exhibit "A"), was merged with and into PNC Bank, National Association and
                National City Real Estate Services LLC became a wholly owned subsidiary ofPNC
                Bank/ National Association. Prior to this merger, Nationat City Rea^ Estate
                Services LLC was a wholly owned subsidiary of National City Bank.

            3. Effective November 7, 2009 a Certificate of Dissolution to dissolve National City
                Real Estate Services LLC was filed with the Stats of Ohio.

            4. PMC Bank, Nationeit Association is a duly organized and existing national banking
                association (Charter Number 1316} and wholly owned subsidiary of PNC Bancorp/
                Inc. (a wholly owned subsidl^r/ of The PNC Ftnandat Services Group/ Inc,),.
                hsving its main office located at 222 Delgware Avenue/ Wilmlngton/ Delaware
                19801 and using federal Employer Identification Number XX-XXXXXXX.

            IN WFTNESS WHeftEOF, the undersigned has hereunto set his hand and affixed the
    seal of this Association this 3rd day of Februaryr 2010.




                    ^^^
                               m

                  ^^
                  rw
                      ;'1k                                                        Georgfe P, long, HI
                  iS^f                  '*>§

                          SEAL tsi
                  ^CQ t
                               .: SU

                 m.                      ^
                     ^                 ^^
                       /%W/N«^




               Member of Th & PNC Fina ndal Services Group
               One PNC Plaza 249 Fifth Avenue Pittsburgh Pennsylvania 1522^2707
    M;\LGL\80AR&\CEOT\CEftTS BY ENTH^NATIQKAL CrTYVNATIONAL CnY REAl ESTATE SERVICES LLC.dOC
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 24 of 85 Page ID
                                  #:762



                                                  EsamrrA




      CqmptroKer of the C-unepcy
      Administrator of NafcEonaJ Banks

      Northeasfcem Distrld: Office                                                   . Licensing Division
      340 Madison Avenue, 5th Floor • ' -                                    Tetephone: (212)790-4055
      New York; New York 10173-OOQZ -                                               Fax: (301) 3.33-7015

      November 6.2009

      James                 S.       KeUer                  .   .   '   .   .   -   -
      Chief JRfigaJatory CQWIS&I • •
      The ?NC?iioanciaI Services Groups foG. ,. . '
      ^49]Erif&A-Veime
      Chi&?NC?c&.21rtFloof • . .
      Prttsburgb^PennsylvEuna 15222-CT7 . . - -

      RK AppUcatiouto fflEa'ge^afioDal CStyBaak, Cbv&laod, OHo, wxfe and into FNC Bfanfc,
          National Assotiafion, Wilmmgton, Delffwarc mdfer Ifaft charie): and title of the Wtcr.
          Co&tolNo: 2009NE020017 . . OiarterNo: 1316

      DcarMTiKeUeT;                                                     '   .   .    '   '   "     .


      Hus letter is the o^dal ccrii&calion pfliie QomptmU&r offhe Cuireocy IQ m^ge ^N^tional City
      BaDfc, Cl&veland, QNo ("NCB"), wi& and mto FNC Bank»-NatIoaaI Associffdoxt, WUmmgtoa,
      Delawaa; ("PNC Ban^^ ciSeofive as of close ofbuAusess oa^ovembet 6,2Q09. Tb& resulting.
      banfc's title is P^C Banfc, Natioatal Associatioa, charter jaumber 1316,

      Tlus Is also tile ofSd&l au&orizalion giyen ,to PNC Bgnk, the ffisohing l)ank, to opfciate branolffis
      oflSfCB as Iwanc&es ofllic x^ultuag baok< Branches of a nafiDEal 'bask. 'target ac? eutomsrtically
      cam^av^tolhftre^tmgba&kaadietamlhcircimt^OCCbrtocScnmbera. . • .

      We understand tibfft upon consttmrpattorL, •fli& ce^jital suapliffi; of PNC BaBfc wll moTeDse, 'Wlfla.m
      30 (3ays fbUowutg COttCTnximaiion, please pEavide tfias o£5c6-m(h fee ?xac£ dolki aDaouut of ^
      c&pitel change so tbat 'wa way issue ow letter certifioatmg Qsc cw^tES. morcase. .

      •fftihie combin&tion docs not occur as repiesetrted b. your letter ofOctober 26,2009, tids
      cortificatiou must lie rctttraed. to the OCC> Foil<nvmg consmiuasSon of&e meTgcr. please wbam
      &e charter ccriificBfe for NCB so ftaat-'wy may properly cl6se our files fer ffus baxifc.




       SstndyaRjcdc
       Actmg Director for District L\
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 25 of 85 Page ID
                                  #:763




                     EXHIBIT “4”
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 26 of 85 Page ID
                                  #:764




                                                      PNC Dreher 000273
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 27 of 85 Page ID
                                  #:765




                                                      PNC Dreher 000274
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 28 of 85 Page ID
                                  #:766




                                                      PNC Dreher 000275
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 29 of 85 Page ID
                                  #:767




                                                      PNC Dreher 000276
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 30 of 85 Page ID
                                  #:768




                                                      PNC Dreher 000277
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 31 of 85 Page ID
                                  #:769




                                                      PNC Dreher 000278
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 32 of 85 Page ID
                                  #:770




                                                      PNC Dreher 000279
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 33 of 85 Page ID
                                  #:771




                                                      PNC Dreher 000280
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 34 of 85 Page ID
                                  #:772




                                                      PNC Dreher 000281
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 35 of 85 Page ID
                                  #:773




                                                      PNC Dreher 000282
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 36 of 85 Page ID
                                  #:774




                                                      PNC Dreher 000283
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 37 of 85 Page ID
                                  #:775




                                                      PNC Dreher 000284
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 38 of 85 Page ID
                                  #:776




                                                      PNC Dreher 000285
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 39 of 85 Page ID
                                  #:777




                                                      PNC Dreher 000286
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 40 of 85 Page ID
                                  #:778




                                                      PNC Dreher 000287
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 41 of 85 Page ID
                                  #:779




                                                      PNC Dreher 000288
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 42 of 85 Page ID
                                  #:780




                                                      PNC Dreher 000289
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 43 of 85 Page ID
                                  #:781




                                                      PNC Dreher 000290
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 44 of 85 Page ID
                                  #:782




                                                      PNC Dreher 000291
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 45 of 85 Page ID
                                  #:783




                                                      PNC Dreher 000292
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 46 of 85 Page ID
                                  #:784




                                                      PNC Dreher 000293
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 47 of 85 Page ID
                                  #:785




                                                      PNC Dreher 000294
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 48 of 85 Page ID
                                  #:786




                                                      PNC Dreher 000295
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 49 of 85 Page ID
                                  #:787




                                                      PNC Dreher 000296
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 50 of 85 Page ID
                                  #:788




                                                      PNC Dreher 000297
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 51 of 85 Page ID
                                  #:789




                                                      PNC Dreher 000298
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 52 of 85 Page ID
                                  #:790




                                                      PNC Dreher 000299
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 53 of 85 Page ID
                                  #:791




                                                      PNC Dreher 000300
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 54 of 85 Page ID
                                  #:792




                                                      PNC Dreher 000301
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 55 of 85 Page ID
                                  #:793




                                                      PNC Dreher 000302
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 56 of 85 Page ID
                                  #:794




                                                      PNC Dreher 000303
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 57 of 85 Page ID
                                  #:795




                                                      PNC Dreher 000304
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 58 of 85 Page ID
                                  #:796




     REDACTED                                         PNC Dreher 000305
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 59 of 85 Page ID
                                  #:797




REDACTED                                              PNC Dreher 000306
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 60 of 85 Page ID
                                  #:798




                                           REDACTED




                                                      PNC Dreher 000307
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 61 of 85 Page ID
                                  #:799




           REDACTED

                                                      PNC Dreher 000308
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 62 of 85 Page ID
                                  #:800




      REDACTED




                                                      PNC Dreher 000309
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 63 of 85 Page ID
                                  #:801




                     EXHIBIT “5”
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 64 of 85 Page ID
                                  #:802
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 65 of 85 Page ID
                                  #:803
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 66 of 85 Page ID
                                  #:804




                     EXHIBIT “6”
                   Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 67 of 85 Page ID
                                                     #:805

  ACCT NUMBER        FDR CROSS REF 1   POOL # CUSTOMER NAME FIRST NAME LAST NAME HIGH PRIORITY 7‐28‐10 POOL SPLIT
4489298120461043                       1     GREGSON, ELAINE ELAINE    GREGSON                 POOL B

4489298129010924 4489298120371697      1     BROOME, JEFFREY    JEFFREY    BROOME                POOL A

4489298129015444 4489298120337961      1     ZUNIGA, AUGUSTO    AUGUSTO    ZUNIGA                POOL B

4489298130126073                       1     LINDNER, STEFANIE STEFANIE    LINDNER               POOL A
                                             PFORDRESHER,                  PFORDRESH
4489298140273915                       1     MICHAEL           MICHAEL     ER                    POOL B

4489298161200268                       1     WASEEM, MUKHTAR MUKHTAR       WASEEM   YES          POOL A
4489298161387735                       1     NGUYEN, HOA     HOA           NGUYEN   YES          POOL A
                                             HOCKENHULL,                   HOCKENHU
4489298161500451                       1     TAMIZA          TAMIZA        LL       YES          POOL A

4489298161638764                       1     CURTO, WAYNE       WAYNE      CURTO                 POOL A
      9653                             1     DREHER, STEPHEN    STEPHEN    DREHER    YES         POOL A
                                             BLANCHETTE,                   BLANCHETT
4586021080                             1     GEORGE             GEORGE     E                     POOL B
4583736318                             1     ROMAN, CRISTINA    CRISTINA   ROMAN     YES         POOL A
                                             BALDOVINO,
4586269267                             3     RIZALITO           RIZALITO   BALDOVINO
4585989816                             1     WRIGHT, PETER      PETER      WRIGHT                POOL A
                                             SERAFINI,
4489618321443419                       3     LEONARDO           LEONARDO   SERAFINI
4586251125                             1     VARELA, ROSA       ROSA       VARELA                POOL A
                                                                           GRUBBSTR
4586120080                             3     GRUBBSTROM, BIT    BIT        OM
4586080185                             1     PADILLA, VANESSA   VANESSA    PADILLA               POOL A

4586102286                             1     BURDISSO, TAWNY    TAWNY      BURDISSO              POOL A
4586053497                             1     WHITE, LINDA       LINDA      WHITE                 POOL A
                     Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 68 of 85 Page ID
                                                       #:806

DBI Loan No DBI Opportunity # Collateral Ship Group #                              Collateral Ship Address                            SETTLE DATE
DBI‐114446 DBO‐10533          5                       Citibank, NA, Attn: Jean Hull, 5280 Corporate Drive, MS 0052, Frederick, MD        23‐Aug‐10
                                                      Nationwide Title Clearing, Attn: Christine Shaw, 2100 Alt 19 North, Palm
DBI‐146643 DBO‐10533          3                       Harbor, FL 34683                                                                  02‐Aug‐10
                                                      Nationwide Title Clearing, Attn: Christine Shaw, 2100 Alt 19 North, Palm
DBI‐146644 DBO‐10533          3                       Harbor, FL 34683                                                                  23‐Aug‐10
                                                      Nationwide Title Clearing, Attn: Christine Shaw, 2100 Alt 19 North, Palm
DBI‐146647 DBO‐10533          3                       Harbor, FL 34683                                                                  02‐Aug‐10
                                                      Citibank, NA, Attn: Jean Hull, 5280 Corporate Drive, MS 0052, Frederick, MD
DBI‐115471 DBO‐10533          5                       21703                                                                             23‐Aug‐10
                                                      Nationwide Title Clearing, Attn: Christine Shaw, 2100 Alt 19 North, Palm
DBI‐115415 DBO‐10533          3                       Harbor, FL 34683                                                                  02‐Aug‐10
DBI‐146738 DBO‐10533          4                       Christina Richie, US Bank, 1133 Rankin St., Suite 100, St Paul, MN 55116          02‐Aug‐10

DBI‐116191 DBO‐10533            4                       Christina Richie, US Bank, 1133 Rankin St., Suite 100, St Paul, MN 55116        02‐Aug‐10
                                                        Nationwide Title Clearing, Attn: Christine Shaw, 2100 Alt 19 North, Palm
DBI‐146761 DBO‐10533            3                       Harbor, FL 34683                                                                02‐Aug‐10
DBI‐117541 DBO‐10533            4                       Christina Richie, US Bank, 1133 Rankin St., Suite 100, St Paul, MN 55116        02‐Aug‐10
                                                        Nationwide Title Clearing, Attn: Christine Shaw, 2100 Alt 19 North, Palm
DBI‐146417 DBO‐10533            3                       Harbor, FL 34683                                                                23‐Aug‐10
DBI‐117375 DBO‐10533            4                       Christina Richie, US Bank, 1133 Rankin St., Suite 100, St Paul, MN 55116        02‐Aug‐10
                                                        Nationwide Title Clearing, Attn: Devlyn Parsons, 2100 Alt 19 North, Palm
                                7                       Harbor, FL 34683                                                                14‐Oct‐10
DBI‐117144 DBO‐10533            5                       Citibank, NA, Attn: Jean Hull, 5280 Corporate Drive, MS 0052, Frederick, MD     02‐Aug‐10
                                                        RCS Recovery Services, LLC Attn: Stacey Archer, 1499 West Palmetto Park
                                8                       Road, Suite 140, Boca Raton, FL 33486                                           14‐Oct‐10
DBI‐117995 DBO‐10533            5                       Citibank, NA, Attn: Jean Hull, 5280 Corporate Drive, MS 0052, Frederick, MD     02‐Aug‐10
                                                        Nationwide Title Clearing, Attn: Devlyn Parsons, 2100 Alt 19 North, Palm
                                7                       Harbor, FL 34683                                                                14‐Oct‐10
DBI‐117462 DBO‐10533            5                       Citibank, NA, Attn: Jean Hull, 5280 Corporate Drive, MS 0052, Frederick, MD     02‐Aug‐10
                                                        Nationwide Title Clearing, Attn: Christine Shaw, 2100 Alt 19 North, Palm
DBI‐146036 DBO‐10533            3                       Harbor, FL 34683                                                                02‐Aug‐10
DBI‐145910 DBO‐10533            5                       Citibank, NA, Attn: Jean Hull, 5280 Corporate Drive, MS 0052, Frederick, MD     02‐Aug‐10
                   Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 69 of 85 Page ID
                                                     #:807

 FINAL SECURED INDICATOR TEMP SECURED INDICATOR DATE SHIPPED TO BUYER
secured                  Secured                9/23/10

Secured                 Secured                 9/8/10

secured                 Secured                 9/23/10

Secured                 Secured                 9/8/10

secured                 Secured                 9/23/10

Secured                 Secured                 8/25/2010
Review ‐ FC Sale        Secured                 8/25/2010

Secured                 Secured                 8/25/2010

Secured                 Secured                 9/8/10
Secured                 Secured                 8/25/2010

secured                 Secured                 9/23/10
Secured                 Secured                 8/25/2010

                        Secured                 11/8/10
Secured                 Secured                 9/8/10

                        Secured                 11/8/10
Secured                 Secured                 9/8/10

                        Secured                 11/8/10
Secured                 Secured                 9/8/10

Secured                 Secured                 9/8/10
Secured                 Secured                 9/8/10
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 70 of 85 Page ID
                                  #:808




                     EXHIBIT “7”
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 71 of 85 Page ID
                                  #:809
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 72 of 85 Page ID
                                  #:810




                     EXHIBIT “8”
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 73 of 85 Page ID
                                  #:811
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 74 of 85 Page ID
                                  #:812
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 75 of 85 Page ID
                                  #:813
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 76 of 85 Page ID
                                  #:814




                     EXHIBIT “9”
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 77 of 85 Page ID
                                  #:815
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 78 of 85 Page ID
                                  #:816
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 79 of 85 Page ID
                                  #:817
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 80 of 85 Page ID
                                  #:818
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 81 of 85 Page ID
                                  #:819




                   EXHIBIT “10”
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 82 of 85 Page ID
                                  #:820
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 83 of 85 Page ID
                                  #:821
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 84 of 85 Page ID
                                  #:822
Case 2:18-cv-07827-MWF-FFM Document 75-2 Filed 11/18/19 Page 85 of 85 Page ID
                                  #:823
